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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

   BRG HARRISON LOFTS URBAN
   RENEWAL LLC,
                                            Civ. Act. No. 2:16-cv-06577
                Plaintiff,
                                                        Electronically Filed
   v.

   GENERAL ELECTRIC COMPANY,                       THIRD PARTY COMPLAINT
   ENVIRONMENTAL WASTE
   MANAGEMENT ASSOCIATES, LLC and
   ACCREDITED ENVIRONMENTAL
   TECHNOLOGIES, INC.

                Defendants.

   ACCREDITED ENVIRONMENTAL
   TECHNOLOGIES, INC.,

                Third-Party Plaintiff,

   v.

   FIELD ENVIRONMENTAL
   INSTRUMENTS, INC. and
   ARIZONAINSTRUMENT LLC,

                Third-Party Defendants.

   ENVIRONMENTAL WASTE
   MANAGEMENT ASSOCIATES, LLC,

                Third-Party Plaintiff,
   v.




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   LANGAN ENGINEERING AND
   ENVIRONMENTAL SERVICES, INC.;
   JOHN WOOD GROUP PLC as successor-
   in-interest to AMEC PLC,

               Third-Party Defendants.

   EVANSTON INSURANCE COMPANY,               Civil Action No: 2:17-CV-01584

               Plaintiff,

   v.

   ENVIRONMENTAL WASTE
   MANAGEMENT ASSOCIATES, LLC,
   ACCREDITED ENVIRONMENTAL
   TECHNOLOGIES, INC., and BRG
   HARRISON LOFTS URBAN RENEWAL

   LLC,

               Defendants.

   ACCREDITED
   ENVIRONMENTALTECHNOLOGIES,
   INC.,

               Third-Party Plaintiff,
   v.

   J.S. BRADDOCK AGENCY,

               Third-Party Defendant.

   J.S. BRADDOCK AGENCY,

               Fourth-Party Plaintiff,

   v.

   EDGEHILL SPECIAL RISK, INC.,

               Fourth-Party Defendant.




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              Defendant/Third Party Plaintiff, Environmental Waste Management Associates, LLC, by

  and through its attorneys Connell Foley LLP, against third-party defendants Langan Engineering

  and Environmental Services, Inc. and John Wood Group PLC as successor in interest to AMEC

  PLC (collectively “Third Party Defendants”), hereby respectfully states and alleges:

                                   BACKGROUND AND PARTIES

              1.    Defendant/Third Party Plaintiff Environmental Waste Management Associates,

  LLC (“EWMA” or “Third Party Plaintiff”) is a limited liability company organized and existing

  under the law of the State of New Jersey with its principal place of business located in Parsippany,

  New Jersey.

              2.    Third Party Defendant Langan Engineering and Environmental Services, Inc.

  (“Langan”) is a corporation organized and existing under the laws of the State of New Jersey with

  its principal place of business located at 300 Kimball Drive, Parsippany, New Jersey 07054.

              3.    Third Party Defendant John Wood Group PLC, as successor in interest to AMEC

  PLC (“AMEC”), is a foreign public limited company with places of business in New Jersey.

                                    JURISDICTION AND VENUE

              4.    Plaintiff BRG Harrison Lofts Urban Renewal, LLC (“Plaintiff”) instituted this

  litigation (the “Litigation”) under the Comprehensive Environmental Response, Compensation

  and Liability Act, 42 U.S.C. § 9601, et seq. (“CERCLA”), and Resource Conservation and

  Recovery Act, 42 U.S.C. § 6901 (“RCRA”) in the District of New Jersey asserting claims against

  defendant General Electric Company, and asserted various state law claims against the remaining

  defendants, including EWMA, related to alleged mercury contamination involving real property

  and improvements located in Harrison, New Jersey (the “Property”).



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              5.    The Court has subject matter jurisdiction over the claims against General Electric

  Company in this Litigation pursuant to 28 U.S.C. § 1331, and has supplemental jurisdiction over

  the claims against EWMA and this Third Party Complaint pursuant to 28 U.S.C. § 1367(a) and

  because these claims are joined with and arise out of the same common nucleus of facts as

  Plaintiff’s federal law claims against General Electric Company and supplemental state law claims

  asserted as to EWMA and the other defendants in the Litigation.

              6.    Venue is proper in this Court as to the Third Party Complaint pursuant to 28 U.S.C.

  § 1391(b) and 42 U.S.C. § 9613(b) as the Property which is the subject of this Litigation is located

  in this District and the events giving rise to the claims at issue occurred in this District.

              7.    At all times relevant and material to the claims asserted herein, Langan was the

  environmental consultant and its employee was the Licensed Site Remediation Professional

  (“LSRP”) for Plaintiff with regard to the Property.

              8.    Langan is subject to the personal jurisdiction of this Court and venue is proper in

  this District under 28 U.S.C. 1391(b) as the acts, conduct or omissions of Langan at issue in this

  matter occurred in this District, Langan is incorporated in and has its principal place of business

  in this District, and Langan transacts, does and/or solicits business in this District.

              9.    At all times relevant and material to the claims asserted herein, AMEC was the

  environmental consultant and/or LSRP for defendant GE with regard to the Property.

              10.   AMEC is a foreign public limited company with places of business in New Jersey

  and is authorized to do business in and/or otherwise transacts, does, or solicits business in the State

  of New Jersey.




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              11.   At all times relevant and material, AMEC regularly conducted business in the State

  of New Jersey, and derived substantial revenue therefrom.

              12.   At all times relevant and material, AMEC expected or should reasonably have

  expected its actions to have consequences in the State of New Jersey and derives substantial

  revenue from interstate and/or international commerce.

              13.   At all times relevant and material, AMEC purposefully availed itself of the

  privilege of conducting business and/or placed products into the stream of commerce within the

  State of New Jersey.

              14.   AMEC is subject to the personal jurisdiction of this Court and venue is proper in

  this District under 28 U.S.C. 1391(b) as the acts, conduct or omissions of Langan at issue in this

  matter occurred in this District, and Langan transacts, does and/or solicits business in this District.

                                      FACTUAL BACKGROUND

              15.   As set forth in the First Amended Complaint (“FAC”), Plaintiff alleges damages

  against various defendants, including EWMA, related to Plaintiff’s purchase of the Property,

  which purportedly contained mercury contamination in certain buildings and subsurface areas

  caused by defendant General Electric Company’s (“GE”) historic operations on the Property. A

  true and correct copy of the First Amended Complaint is attached hereto as Exhibit “A”.

              16.   EWMA and Plaintiff entered into an Environmental Services Agreement (“ESA”)

  for certain Phase I and II environmental due diligence services related to the Property in or around

  2012.

              17.   EWMA retained defendant Accredited Environmental Technologies, Inc. (“AET”)

  to conduct a mercury vapor survey of the buildings on the Property.



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              18.   The FAC alleges that AET negligently conducted the mercury vapor survey and

  failed to identify the complete scope of the contamination in the building interiors.

              19.   The FAC claims that EWMA and AET negligently failed to fully detect the extent

  of the mercury contamination in the buildings, that EWMA knew or should have known the

  methodology of AET’s mercury vapor survey were “questionable”, and that EWMA should have

  “taken measures to ensure that AET conducted a proper mercury survey or retained another

  qualified professional to do so.”

              20.   EWMA filed an Answer, Affirmative Defenses and Cross Claims in response to

  the FAC, whereby EWMA denied the allegations and claims asserted by Plaintiff in this matter.

              21.   AMEC was retained by GE to act as LSRP of record for the Property and to assume

  the lead role in implementing certain interim remedial actions related to soil, groundwater and

  vapor intrusion pathway concerns on the Property.

              22.   At all relevant times from AMEC’s retention through the date the Property was sold

  to Plaintiff, AMEC as the LSRP responsible for the investigative and remedial actions associated

  with the Property.

              23.   In or around July 2013, Plaintiff provided GE and AMEC with EWMA’s

  environmental investigation work, including the mercury vapor survey by AET.

              24.   In August 2013, sampling performed by AMEC on the first floor of Building C

  identified traces of mercury vapor, which was not identified in AET’s reporting.

              25.   The results of AMEC’s August 2013 sampling were shared with Plaintiff in August

  2013.




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              26.   Based upon AMEC’s confirmatory sampling, AMEC should have conducted an

  evaluation of indoor air for the entire facility for mercury.

              27.   In or around 2014, AMEC issued a Preliminary Assessment Report (“PAR”)

  regarding the Property. As part of AMEC’s PAR, (1) mercury was identified on the floor surface

  in connection with sumps and pits in the basement (or ground level) of Building B that had not

  previously been identified; and (2) mercury was detected in floor swipe samples within Building

  B at concentrations an order of magnitude above the Non-Residential Direct Contact Soil

  Remediation Standards (“NRDCSRS”). Subsequent soil samples beneath the floor detected

  mercury exceeding the Residential Direct Contact Soil Remediation Standards (“RDCSRS”)

  which prompted additional sampling of the underlying soils.

              28.   A draft of this PAR prepared in September 2014 identified mercury vapors as a

  separate Area of Concern (“AOC”) within the building, but it was not included in the final PAR

  submitted to the New Jersey Department of Environmental Protection (“NDJEP”) in November

  2014.

              29.   Further, the November 2014 PAR did not include a recommendation to remediate

  the third floor of Building C, and no further investigations for indoor air mercury vapors were

  recommended by AMEC as to the other buildings and floors.

              30.   Pursuant to statements in the November 2014 PAR, AMEC was aware that the

  future use of the buildings was going to be residential.

              31.   AMEC conducted Remedial Investigation Sampling in 2014, including slab, soil

  and groundwater samples at the Property, which were incorporated along with the other prior

  sampling into a March 2015 Remedial Investigation Report issued by AMEC (“RIR”).



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              32.   The RIR indicated surficial concentrations of mercury above the NRDCSRS in the

  area of the Building B pits and soils beneath the floor of Building B exceeding the RDCSRS.

              33.   Based upon the concentrations of mercury in the surficial samples, subsurface soils

  samples and/or other samples from AMEC’s 2014 Residential Investigation Sampling or otherwise

  known to AMEC, and the known proposed use of the buildings for residential purposes, AMEC

  should have conducted additional mercury vapor indoor air sampling.

              34.   The FAC alleges that AMEC’s PAR was provided to Plaintiff prior to Plaintiff

  entering into an Indemnification and Settlement Agreement with GE regarding remediation of the

  mercury contamination at the Property.

              35.   Based upon the Remedial Investigation Sampling, 2013 sampling, and information

  available to AMEC by and through its client, GE, AMEC knew or should have known that the

  results of AET’s mercury vapor survey were potentially inconsistent with later sampling and/or

  testing or otherwise needed further investigation.

              36.   AMEC failed to advise EWMA of the Remedial Investigation Sampling or results

  thereof.

              37.   AMEC failed to advise EWMA that the results of the AET mercury vapor survey

  were potentially inaccurate or otherwise inconsistent with the sampling and investigation of

  AMEC with regard to mercury contamination on the Property.

              38.   The FAC alleges that Plaintiff relied upon information provided by AMEC in

  negotiating an Indemnity and Settlement Agreement with GE and would not have entered into

  such an agreement had AMEC provided accurate information regarding the mercury

  contamination at the Property within the PAR.



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              39.   Despite knowledge of the mercury vapor intrusion concerns outlined above, AMEC

  adopted and appended AET’s analysis from EWMA’s January 2013 PAR into its own report,

  which was shared with Plaintiff for an opportunity to review and comment prior to its submission

  to the NJDEP. AMEC not only had the same information and data pertaining to AET’s manner

  and method of sampling as EWMA, it had significant additional information which EWMA did

  not have.

              40.   AMEC did not raise any issues or objections to the manner or methods of AET’s

  mercury sampling.

              41.   To the extent Plaintiff alleges that its review of AMEC’s draft PAR did not include

  the soil data, it had no obligation to enter into the Indemnity and Settlement Agreement with GE

  when it did, and Plaintiff should have waited until such data was received as the due diligence

  feasibility period had no definitive end-date. EWMA is not liable for Plaintiff’s hasty decision to

  enter the Indemnity and Settlement Agreement at this time, or for GE’s failure to provide Plaintiff

  with the data in light of the negotiations between the parties.

              42.   The FAC further alleges that work and or services performed by AMEC with regard

  to stockpiles and underground storage tanks on the Property released mercury from the buildings

  into the environment, including but not limited to the use of ventilation fans in Buildings A and B

  on the Property over two years, cutting into and removing flooring in the buildings on the Property,

  and failing to take proper protective measures to prevent or minimize the release of mercury into

  the environment.

              43.   AMEC knew or should have known that the work or services performed at the

  Property had a likelihood of releasing mercury into the environment and building interiors, and



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   failed to take such measures necessary to prevent or minimize the release of mercury into the

   environment and buildings.

               44.   In or around 2014, Plaintiff retained third party defendant Langan to conduct

   environmental consulting services in connection with the Property.

               45.   EWMA Director and employee, Anthony Kaufman, who was responsible for

   managing and overseeing EWMA’s work with Plaintiff at the Property, resigned from EWMA on

   or about June 12, 2014.

               46.   Mr. Kaufman subsequently commenced employment with Langan in August 2014,

   and took the Plaintiff’s business to Langan.

               47.   Langan was formally retained by Plaintiff in August 2014.

               48.   Langan, and in particular Mr. Kaufman, reviewed the August 2014 AMEC draft

   PAR and March 2015 RIR on behalf of Plaintiff, and provided consulting services and insight to

   Plaintiff regarding the environmental conditions at the Property.

               49.   Langan not only had the same information and data pertaining to AET’s manner

   and method of sampling as EWMA, it had significant additional information which EWMA did

   not have.

               50.   Langan did not raise any issues or objections to the manner or methods of AET’s

   mercury sampling.

               51.   Further, Langan continued to advise Plaintiff throughout its negotiations with GE

   that ultimately resulted in the parties’ entry into the Indemnity and Settlement Agreement.




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               52.   Langan and Mr. Kaufman continued to provide consulting services to Plaintiff as it

   received additional environmental reports and data from GE and AMEC in early 2015, and in

   connection with Plaintiff’s entry into the Settlement Agreement and Release in June of 2015.

               53.   Langan should have advised Plaintiff of the impact of the new data and the need to

   perform additional testing as to potential mercury contamination.

                                              FIRST COUNT

               54.   EWMA repeats and reiterates the allegations of the Third Party Complaint as if

   same were set forth at length herein.

               55.   At the time and place mentioned in the FAC, the damages allegedly sustained by

   Plaintiff resulted solely from the Third Party Defendants’ negligence and/or other wrongful

   conduct, acts or omissions, and responsibility for the subject claims and alleged damages are

   therefore upon the Third Party Defendants, or if there was any negligence on the part of EWMA,

   which it denies, the negligence of the Third Party Defendants was a major contributing factor

   therein, and the Third Party Defendants are therefore jointly liable.

               56.   By reason of Third Party Defendants’ negligence and pursuant to the provisions of

   the Joint Tortfeasors Contribution Law, N.J.S.A. 2A:53a-1 et seq., and the Comparative

   Negligence Act, N.J.S.A. 2A:15-5.1 et seq., EWMA is entitled to recover from the Third Party

   Defendants a proportionate share of any and all amounts which Plaintiff may recover.

                                            SECOND COUNT

               57.   EWMA repeats and reiterates each and every allegation of the Third Party

   Complaint as though fully set forth at length herein.




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               58.    While EWMA denies liability for the damages alleged by Plaintiff, if judgment is

   recovered by Plaintiff as against EWMA, it hereby asserts that the negligence, breach or other

   alleged wrongful conduct or omission of EWMA was merely constructive, technical, imputed or

   vicarious and Plaintiff’s damages arose through the Third Party Defendants’ direct, active and

   primary negligence, breach and/or other wrongful conduct or omission.

               59.    In the event that EWMA is found liable to Plaintiff, in any respect, EWMA is

   entitled to be defended, indemnified and held harmless by the Third Party Defendants, whether

   said right to be defended, indemnified and held harmless arose pursuant to contract, common law

   or statutory law.

               60.    Accordingly, the Third Party Defendants are obligated by operation of law to

   indemnify and hold EWMA harmless from any and all claims which are the subject of this lawsuit

   and brought on behalf of Plaintiff or the other parties to this action.

               WHEREFORE, EWMA demands judgment against the Third Party Defendants pursuant

   to the Joint Tortfeasors Contribution Law and the Comparative Negligence Act, together with full

   indemnification and/or contribution and/or insurance coverage, including the cost of defense,

   attorneys’ fees and expenses incurred in the defense of this suit, with interest thereon.

                               NOTICE AS TO SETTLING DEFENDANTS

               Pursuant to the holding of Young v. Latta, 123 N.J. 584 (1991), EWMA hereby places the

   parties, including plaintiff, on notice that EWMA intends to have the jury allocate fault between

   any and all settling and non-settling defendants and third-party defendants in the above-captioned

   lawsuit.




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                                              JURY DEMAND

               EWMA hereby demands a trial by jury.


                                         LOCAL CIVIL RULE 11.2

               I, Timothy E. Corriston, hereby certify pursuant to Local Civil Rule 11.2, that the above-

   captioned matter in controversy is not the subject of any other action pending in any court, or of

   any pending arbitration or administrative proceeding.



                                            CONNELL FOLEY LLP


                                            BY:     /s/Timothy E. Corriston
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                        EXHIBIT A
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